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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

AMARILLO MEDICAL SPECIALISTS, LLP                  )
AMARILLO FAMILY PHYSICIANS, PA and                 )
AMARILLO LEGACY MEDICAL ACO, LLC                   )
                                                   )
              Plaintiffs,                          )
                                                   )
v.                                                 )     Civil Action No. 2:23-cv-00026-Z-BR
                                                   )
AKOS MD IPA, LLC, and                              )
GENUINE HEALTH GROUP, LLC                          )
                                                   )
              Defendants,                          )
                                                   )
and                                                )
                                                   )
GENUINE HEALTH GROUP, LLC                          )
                                                   )
              Third-Party Plaintiff,               )
                                                   )
v.                                                 )
                                                   )
MARY BLACK                                         )
                                                   )
              Third-Party Defendant.               )

      THIRD-PARTY DEFENDANT MARY BLACK’S CORPORATE DISCLOSURE
           STATEMENT AND CERTIFICATE OF INTERESTED PERSONS

TO THE HONORABLE JUDGE OF SAID COURT:

       Pursuant to Fed. R. Civ. P. 7.1 and Northern District of Texas Local Civil Rule LR 7.4,

Third-Party Defendant Mary Black provides the following information:

       For a nongovernmental corporate party, the name of its parent corporation and any publicly

held corporation that owns 10% or more of its stock:

       1.     N/A.




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       A complete list of all persons, associations of persons, firms, partnerships, corporations,

guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are

financially interested in the outcome of this case:

       1.      Mary Black.


                                              Respectfully submitted,

                                              /s/ Graigory B. Fancher
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                                              ATTORNEYS FOR THIRD-PARTY
                                              DEFENDANT MARY BLACK



                                 CERTIFICATE OF SERVICE

      I hereby certify that on September 16, 2024, a true and correct copy of the foregoing
document was filed with the Clerk of Court and served on all counsel of record via the Court’s
CM/ECF system.

                                              /s/ Graigory B. Fancher
                                              Graigory B. Fancher


THIRD-PARTY DEFENDANT MARY BLACK’S CORPORATE DISCLOSURE
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